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 5
     Attorney for Defendant,
 6   JESUS GONZALEZ PEREZ

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 9
                        IN THE UNITED STATES DISTRICT COURT FOR THE
10
                                  EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                             )
13                                                         )
                            Plaintiff,                     )       CASE NO: 07-CR-00016-AWI
14                                                         )
                                                           )       STIPULATION TO CONTINUE
15                           v.                            )       SENTENCING
                                                           )
16   JESUS GONZALEZ PEREZ                                  )
                                                           )       HON. ANTHONY W. ISHII
17                          Defendants.                    )
                                                           )
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20
            Defendant Jesus Gonzalez Perez, by and through his counsel, Alex R. Kessel and Plaintiff
21
     United States of America, by and through their counsel of record, Karen Escobar, Assistant United
22
     States Attorney, hereby stipulate to the following:
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            Counsel for defendant will be engaged in trial in the matter of People vs. Vagan Davtyan,
24
     et al, case number GA077135 in Department F of the Los Angeles County Superior Court,
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     Northeast District in Pasadena. This is a two defendant, multiple count identity theft case wherein
26
     the defendants are out of custody.
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            Based on the foregoing, counsel for defendant and the Government stipulate the currently
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                                                       1
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 1   scheduled sentencing date be continued from February 22, 2011 at 11:00 a.m., to April 4, 2011, at

 2   11:00 a.m.

 3   Dated: February 17, 2011                             Respectfully submitted,

 4
                                                          /s/ALEX KESSEL
 5                                                        Counsel for Jesus Gonzalez Perez

 6

 7                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
 8

 9                                                        /s/ Karen Escobar
                                                          KAREN ESCOBAR
10                                                        Assistant U.S. Attorney

11
                                                  ORDER
12
            GOOD CAUSE HAVING BEEN SHOWN THEREFORE IT IS ORDERED THAT
13
     the request for a continuance of the currently sentencing date is granted and a sentencing date for
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     defendant Jesus Gonzalez Perez is set for April 4, 2011 at 11:00 a.m.
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     IT IS SO ORDERED.
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18   Dated:    February 17, 2011
     0m8i78                                           CHIEF UNITED STATES DISTRICT JUDGE
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